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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

)
UNITED STATES OF AMERICA )
)
V. ) Criminal Action No. 21-94 (RBW)
)
MARK RODERICK AUNGST and )
TAMMY A. BRONSBURG, )
)
Defendants. )
)
ORDER

In accordance with the oral rulings issued by the Court at the atraignment held on
March 23, 2021, it is hereby
ORDERED that, with the defendants’ consent, the time from March 23, 2021, until June
1, 2021, is excluded under the Speedy Trial Act in light of the need for the government to
provide discovery to the defendants and the need for the defendants to review that discovery. It
is further
ORDERED that the parties shall appear before the Court for a status hearing on June 1,
2021, at 10:00 a.m. via videoconference.
SO ORDERED this 23rd day of March, 2021.
bent Weber
REGGIE B. WALTON
United States District Judge

 
